           Case 5:21-cv-00780-XR Document 27 Filed 06/17/22 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


ALISON STEELE, INDIVIDUALLY                        §
AND ON BEHALF OF THE ESTATE OF                     §
CAYLEY MANDADI;                                    §                    SA-21-CV-00780-XR
             Plaintiff,                            §
                                                   §
v.                                                 §
                                                   §
TRINITY UNIVERSITY, MARK                           §
HOWERTON,                                          §
             Defendants.                           §


                                              ORDER

       On this date, the Court considered the status of this case. On June 28, 2021, Plaintiff

initiated this action by filing a petition in the 225th Judicial District Court of Bexar County, Texas.

See ECF No. 1-5 at 14. In her petition, Plaintiff asserted causes of action under Title IX and 42

U.S.C § 1983 against Defendant Trinity University. Id. at 21–25. She alleged that Defendant

Trinity University was also liable for negligence and gross negligence. Id. at 25–27, 29–30. In

addition, Plaintiff asserted claims for assault, intentional infliction of emotional distress,

negligence, and gross negligence against Defendant Mark Howerton. Id. at 27–30.

       On August 18, 2021, Defendant Trinity University removed the action to this Court on the

basis of federal question jurisdiction. ECF No. 1 ¶ 2. On October 26, 2021, the Court held a status

conference and issued an order vacating the scheduling order and administratively closing this case

in light of the parties’ representations that Defendant Trinity University intended to file a

dispositive motion on discrete legal issues. See ECF Nos. 16, 17. Having failed to file any

dispositive motion, the Court issued an order on May 2, 2022, instructing the parties to file a joint

status report advising the Court of the status of this case, including whether and when Defendant

Trinity University intended to file a dispositive motion on discrete legal issues. ECF No. 18.

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           Case 5:21-cv-00780-XR Document 27 Filed 06/17/22 Page 2 of 2




        On May 9, 2022, the parties filed the requested joint status report. ECF No. 20. On May

10, 2022, the Court ordered Defendant Trinity University to file any dispositive motion no later

than June 9, 2022. ECF No. 21. On June 9, 2022, Defendant Trinity University filed a motion to

dismiss, seeking to dismiss all claims asserted against it. ECF No. 22.

        On June 15, 2022, Plaintiff filed a stipulation of dismissal. ECF No. 23. Therein, Plaintiff

voluntarily dismissed her Title IX and § 1983 claims, leaving only state law claims pending in this

Court. Id. at 1. Thus, on June 15, 2022, the Court ordered the parties to file a joint status report

with their respective positions as to whether and why this case should or should not be remanded

to state court. ECF No. 24.

        On June 16, 2022, the parties filed the requested joint status report. ECF No. 26. The status

report provides that the parties conferred and agree that this case should be remanded to state court.

See id. at 1.

        Accordingly, the Court hereby REMANDS this case to the 225th Judicial District Court

of Bexar County, Texas, where this action was originally filed. The Clerk’s Office is DIRECTED

to permanently close this case.

        It is so ORDERED.

        SIGNED this June 17, 2022.




                                                      XAVIER RODRIGUEZ
                                                      UNITED STATES DISTRICT JUDGE




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